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1      DONALD SPECTER – 083925                        MICHAEL W. BIEN – 096891
       STEVEN FAMA – 099641                           ERNEST GALVAN – 196065
2      MARGOT MENDELSON – 268583                      LISA ELLS – 243657
       PRISON LAW OFFICE                              JENNY S. YELIN – 273601
3      1917 Fifth Street                              THOMAS NOLAN – 169692
       Berkeley, California 94710-1916                MICHAEL S. NUNEZ – 280535
4      Telephone: (510) 280-2621                      AMY XU – 330707
                                                      CARA E. TRAPANI – 313411
5      CLAUDIA CENTER – 158255                        MARC J. SHINN-KRANTZ – 312968
       DISABILITY RIGHTS EDUCATION                    ALEXANDER GOURSE – 321631
6      AND DEFENSE FUND, INC.                         GINGER JACKSON-GLEICH – 324454
       Ed Roberts Campus                              ADRIENNE PON HARROLD – 326640
7      3075 Adeline Street, Suite 210                 ROSEN BIEN
       Berkeley, California 94703-2578                GALVAN & GRUNFELD LLP
8      Telephone: (510) 644-2555                      101 Mission Street, Sixth Floor
                                                      San Francisco, California 94105-1738
9                                                     Telephone: (415) 433-6830
     Attorneys for Plaintiffs
10
11
                                       UNITED STATES DISTRICT COURT
12
                                       EASTERN DISTRICT OF CALIFORNIA
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     RALPH COLEMAN, et al.,                           Case No. 2:90-CV-00520-KJM-DB
15
                         Plaintiffs,                  PLAINTIFFS’ OBJECTIONS TO
16                                                    DEFENDANTS’ 2022-2023 UNMET
                    v.                                NEEDS ASSESSMENT REPORT
17
     GAVIN NEWSOM, et al.,                            Judge: Hon. Kimberly J. Mueller
18
                         Defendants.
19
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28
     [4330192.10]

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 1                                                INTRODUCTION
 2                  On September 13, 2021, the Court ordered Defendants to complete “an unmet bed
 3 needs study to assess whether there are class members in need of inpatient or crisis bed
 4 care who have not been identified or referred to necessary care.” ECF No. 7305 at 14-15. 1
 5 The Court also noted that “[t]he Special Master has informed the court that there is a
 6 subset of class members with severe personality disorders associated with significant
 7 function[al] impairments who have special treatment needs not yet available in an inpatient
 8 setting.” Id. at 15:5-8. To understand this group of individuals with personality disorders,
 9 its size, and its needs better, the Court directed the Special Master “to ensure that the scope
10 of the unmet bed needs study conducted in accordance with this order is sufficient to
11 identify with specificity the size of that need [for treatment for personality disorders] and
12 what is required to ensure that it is met.” Id. at 15:8-10.
13                  On June 30, 2023, Defendants submitted their Final UNA Study in response to the
14 Court’s Order. 2 See ECF No. 7865, Defendants’ Notice of Filing Unmet Needs
15 Assessment Report, and ECF No. 7865-1 (Exhibit A, Cover Letter), 7865-2 (Exhibit B,
16 Response to Plaintiffs’ and Special Masters’ Comments on Draft Report), 7865-3
17 (Exhibit C, 2022/2023 Unmet Needs Assessment). Defendants’ 2022/2023 Unmet Needs
18 Assessment (the “Final UNA Report” or “the Report”) includes four sweeping
19 conclusions, namely (1) that “there is no unmet need for inpatient referrals within CDCR,”
20 (2) that “whether there is an unmet need for patients with personality disorder requires
21 further study,” (3) that “there are a sufficient number of mental health crisis beds,” and
22 (4) that “the Sustainable Process is effective.” See ECF No. 7865-3 at 8-9.
23                  But the utility and reliability of Defendants’ study is substantially limited by data
24
25   All citations to filed pleadings in these objections are to the ECF pagination, not to the
     1
   internal pagination of the cited document, where different.
26 2
     The Court initially set a deadline for the report of December 31, 2022. ECF 7477. On
27 December    2, 2022, the parties requested an extension of the deadline to June 30, 2023.
   ECF No. 7676 at 3-4. The Court granted the requested extension on December 15, 2022.
28 ECF No. 7680 at 4-5.
     [4330192.10]                                          1
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 1 irregularities, confounding factors, and methodological limitations that go largely
 2 unaddressed, including the impact of severe clinical staffing shortages, the unexplained
 3 discovery that essentially equal numbers of inpatient referrals occurred outside of the UNA
 4 process concurrent with the study, and the ongoing low rates of inpatient referrals since the
 5 beginning of the pandemic that remain unexplored. These factors call the study’s findings
 6 into serious question and limit the usefulness of the study in prospectively estimating
 7 future needs.
 8                  Similarly, Defendants’ conclusions that the level of unmet need does not correlate
 9 with high vacancy rates at DSH and that CDCR has sufficient numbers of acute and high-
10 custody PIP beds are unsubstantiated. On the first point, Defendants’ findings ignore the
11 fact that CDCR’s LRH process largely controls the flow of patient referrals to DSH, but, as
12 the Special Master has long reported, that process is non-functional. And Defendants’
13 reporting of excess PIP bed capacity fails to account for the fact that over 200 high-
14 custody ICF and acute beds at CHCF and CMF PIPs have long been unavailable to treat
15 patients due to Defendants’ persistent, unaddressed staffing shortages. Without those beds,
16 Defendants’ lack the capacity to timely transfer and treat patients needing inpatient care, as
17 confirmed by their ongoing non-compliance with Program Guide transfer timelines.
18                  Plaintiffs further object to Defendants’ unsupported conclusion that it is still
19 uncertain whether unmet need exists for patients with personality disorders, given the
20 UNA Report’s identification of 470 patients with personality disorders who CDCR
21 clinicians determined cannot be treated within the existing MHSDS and may benefit from
22 a different treatment program. Furthermore, the Court should order the Special Master to
23 address Defendants’ proposal to spend an additional year studying this identified group of
24 patients with personality disorders to determine whether and how to provide treatment,
25 particularly as to the large subset diagnosed with Borderline Personality Disorder (BPD)
26 for whom all parties agree well-established and effective treatment protocols exist.
27                  Finally, this Court should disregard the Final Report’s finding that “the sustainable
28 process is effective.” The Court did not ask Defendants to evaluate the effectiveness of the
     [4330192.10]                                           2
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 1 sustainable process, nor was the study designed or implemented to address this question.
 2 And Defendants’ retroactive attempt to rehabilitate the sustainable process through this
 3 Report suffers from questionable methodological and analytical choices, rendering it of
 4 questionable value. Defendants’ assertions regarding the sustainable process should be
 5 saved for a time when that process is actually at issue.
 6                                                  ARGUMENT
 7 I.               THE UNA RESULTS ARE UNRELIABLE AND ALMOST CERTAINLY
                    UNDERCOUNT NEED
 8
 9                  Unfortunately, despite the best efforts of the parties to design a high quality unmet
10 needs assessment, some factors external to the study itself, along with some data
11 irregularities, the large number of referrals outside of UNA, and other unexplained and
12 unexpected results, all undermine the reliability of the study in answering the Court’s
13 questions. Indeed, as Defendants themselves acknowledge, every iteration of the UNA
14 report presented different resulting referral numbers, despite a clear methodology and
15 multiple efforts to reconcile the data with the Special Master team along the way. See ECF
16 No. 7865-2 at 5 (acknowledging final report includes twenty-seven additional referrals not
17 identified in prior draft report, and failing to reconcile or explain other discrepancies
18 identified by the Special Master); see also ECF No. 7865-2 at 25-26, 31 (Special Master
19 comments noting UNA referral discrepancies plagued each iteration of the draft report that
20 could not be reconciled with the Special Master’s monitoring and tracking). 3 The unstable,
21 constantly shifting referral numbers, which remain out of sync with the Special Master’s
22 tracking even in their final reported form, are never fully explained and fundamentally
23 undermine the reliability of the entire Report.
24                  The reliability of the Report is further undermined by Defendants’ failures to
25
26   Like the reported UNA referral numbers, Defendants’ reporting of the “non-UNA”
     3
   referrals generated contemporaneously to the UNA has repeatedly shifted. Compare ECF
27 No. 7865-2 at 6 (final report noting 338 “non-UNA referrals”), with ECF No. 7865-2 at 31
   (Special Master comments on prior reporting of 297 such referrals). This additional
28 unexplained change further undermines the reliability of Defendants’ Report.
     [4330192.10]                                          3
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 1 properly account for the effects of widespread staffing shortages, their identification of
 2 essentially equal numbers referrals purportedly generated outside of the UNA process at
 3 the same time as that process was occurring, and the dramatic and sustained drop in
 4 referrals since the beginning of the pandemic.
 5                  A.    Widespread Staffing Shortages Undermine the Reliability of the UNA
                          Study Results
 6
 7                  Primary among the factors that urge caution in generalizing from the current UNA
 8 study going forward is the current severe staffing shortage among CDCR clinical and
 9 custody staff, which has resulted in widespread triaging of patient care and in frequent
10 turnover in case managers and other primary treating staff for each patient. See 2/7/23
11 Twenty-Ninth Round Monitoring Report – Part C: Special Master’s Monitoring Report on
12 the California Department of Corrections and Rehabilitation’s Institutions with Enhanced
13 Outpatient Programs Compliance with Provisionally Approved Plans, Policies and
14 Protocols (“29th Round EOP Report”), ECF No. 7715 at 30 (noting the “vacancy rate
15 explosion” among primary clinicians and explaining that “[w]ith the vacancy rates
16 observed at some institutions, it was virtually impossible to provide anything close to
17 Program Guide-compliant mental health care”), 33 (finding that “[b]y pivoting to triaging
18 patients, CDCR is tacitly acknowledging that many institutions’ mental health staffing
19 vacancies make it impossible to provide Program Guide-compliant mental health care to
20 the entire MHSDS population”), 34 (determining that “[t]he impact [of the staffing
21 shortage] on those mental health staff members who remained employed in CDCR
22 institutions was evident during the monitoring tours: many carried excessively high patient
23 caseloads and reported experiencing burnout,” and warning that “the staffing crisis within
24 CDCR is untenable and requires immediate attention and intervention.”).
25                  In addition to directly causing Defendants’ inability to comply with core Program
26 Guide requirements and the resulting patient harm, the staffing crisis has undermined the
27 ability of CDCR to identify and refer all cases of need for inpatient care both in the context
28 of the UNA study, and in CDCR’s routine reviews of patients for higher levels of care in
     [4330192.10]                                        4
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 1 IDTTs. As the Special Master noted, “throughout the UNA process, UNA review teams,
 2 including CDCR clinicians, consistently expressed concern about the woeful mental health
 3 staffing levels in the institutions and the resultant lack of follow-up care and required
 4 IDTTs.” ECF No. 7865-2 at 30 (Special Master comments on draft report.) Defendants
 5 themselves acknowledged the link between staffing and inpatient referrals in the Final
 6 UNA Report, noting that “[r]eferral recommendations may have been influenced by
 7 staffing deficiencies, according to discussions among UNA reviewers” and explaining that
 8 “patients were not being seen in a timely manner due to staffing shortages, which led to
 9 challenges for the UNA Review Teams to make a recommendation.” ECF No. 7865-3 at
10 67. Defendants assert, without substantiation, that the UNA teams sometimes made up for
11 this by making “recommendations for referral to inpatient care despite lacking current
12 active symptom meeting admission criteria.” Ibid. However, Plaintiffs’ limited
13 observation of the UNA reviews confirm that such referrals were not necessarily routine.
14 Moreover, such referrals would not make up for the people not screened into the UNA
15 review in the first place during Phase I of the UNA review, because staffing shortages
16 prevented their proper identification.
17                  The reason these staffing vacancies impeded the UNA study is that the key criteria
18 for inpatient care rest on subjective clinical standards that require intimate knowledge of a
19 given patient, the patient’s level of functioning, and/or the patient’s progress in treatment.
20 The first three of the seven UNA criteria for Phase I inclusion are subjective criteria that
21 are key to catching those who are “quietly psychotic” and would be missed by the more
22 objective indicators for higher levels of care like MHCB stays or frequent disciplinary
23 infractions. For example, the first UNA criteria is that “as a result of a major mental
24 disorder, the patient is unable to adequately function within the structure of the CDCR
25 Enhanced Outpatient Program (EOP) Level of Care.” ECF No. 7865-3 at 77, 78. To
26 employ this criteria, a given clinician needs to have an understanding of the patient’s
27 baseline level of functioning, and their current functioning. If a patient is not being seen or
28 closely monitored by clinical staff, this criteria cannot be properly employed. Similarly,
     [4330192.10]                                        5
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 1 the second UNA criteria requires a patient to have “serious to major impairment of
 2 functioning in most life areas,” which requires close monitoring and intimate knowledge of
 3 the patient’s level of functioning. Id. at 77, 78-79. Likewise, the third UNA criteria
 4 subjectively asks if “[t]he patient demonstrates chronic psychiatric symptoms that have not
 5 responded sufficiently to at least 6 months of treatment to a degree that facilitates adequate
 6 levels of functioning.” Id. at 77, 79. Without close personal knowledge of the patient’s
 7 functioning and progress in treatment over a six-month period, a clinician cannot be
 8 expected to correctly screen for this factor. This is why clinicians with new patients or
 9 who otherwise did not know their patients well were told in training materials for the UNA
10 study not to bother to screen their patients for these criteria. See ECF No. 7865-3 at 170
11 (UNA training materials with the following question and answer about treatment team
12 screening for Phase I identification: “What if it’s a covering/new clinician or psychiatrist
13 and they don’t know the patients? A: Only clinicians who have knowledge of the patient
14 should complete the screening tool. There is not a requirement to review the patients’
15 charts.”) (emphasis supplied)).
16                  Moreover, in Phase II of the UNA Study, the primary method of evaluating patients
17 was records review, but at many institutions documentation was noted to be poor or
18 incomplete, and many patients flagged for review had not had required IDTTs or other
19 clinical contacts that would have provided the most complete, up-to-date picture of their
20 diagnoses and functioning. See Plaintiffs’ June 15, 2023 Letter, attached to Report as
21 Enclosure D, at ECF No. 7865-2 at 46 (noting observation of these issues); see also ECF
22 No. 7865-2 at 30 (Special Master commenting on observed effects of staffing crisis).
23 Defendants do not contest, for instance, that EOP patients at RJD were repeatedly noted to
24 have not received required in person IDTTs for many months, sometimes six months or
25 longer, due to staffing shortages, and very few class members were interviewed in
26 Phase II, despite the lack of recent required confidential clinical contacts. Compare ECF
27 No. 7865-2 at 46 (raising concerns regarding staffing impacts), with ECF No. 7865-2 at 12
28 (agreeing that the UNA teams sometimes lacked sufficient information due to poor staffing
     [4330192.10]                                       6
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 1 and “had the option” to interview patients). Yet Defendants make no effort to seriously
 2 evaluate the impact of the staffing crisis on the UNA process and ensuing Report beyond
 3 acknowledging that staffing problems delayed UNA referrals and that the lack of timely
 4 contacts “led to challenges for the UNA Review Teams to make a recommendation.” Id at
 5 67. 4
 6                  The staffing crisis infected the UNA process and undermined the reliability of its
 7 results. Adequate and consistent clinical staffing is key to a fully functional system of
 8 inpatient referrals, and also to a comprehensive, accurate study of unmet needs for
 9 inpatient care. 5
10                  B.     The Large Number of Referrals Outside of UNA Undermines the UNA
                           Study Results
11
12                  During Phase II of the UNA reviews, the key period when UNA review teams
13 reviewed cases for each prison and made recommendations for referral, 338 patients were
14 referred by local institutions to an inpatient program, but not through the UNA review
15 process. See ECF No. 7865-2 at 6. That is almost exactly the same number of indi-
16 viduals—342—that were identified by the UNA process itself. ECF No. 7865-3 at 37. It
17 is hard to fathom how a well-executed study for unmet need could possibly be reconciled
18 with this outcome.
19                  In response to Special Master concerns about this anomalous outcome and request
20
21   4
       This also partly explains some of the subsequent referrals outside of the UNA process
     during UNA Phase II by IDTTs of flagged cases reviewed but not referred by the UNA
22   teams. See Argument I.B. infra.
23
     5
       Defendants added some additional screening layers to the 2022-2023 UNA study,
     including a review by custody and nursing staff, to try to address this limitation. However,
24   in the end, the referral patterns documented in connection with the study suggest that these
     measures were insufficient to address the lack of intimate knowledge of individual patients
25   required to properly refer patients to higher levels of care. Moreover, there were
     widespread severe shortages of custody staff during this time period, so custody staff faced
26   similar barriers to short clinical staff—lack of personal knowledge of mental health
     patients, and some institutions have also been experiencing nursing shortages. See ECF
27   No. 7715, 29th Round EOP Report at 134 (noting impact of staffing deficiencies on
     custody and mental health partnership activities.), 254 (noting shortages of nursing staff at
28   CMC), 349 (noting re-direction of nurses at San Quentin due to staffing shortages).
     [4330192.10]                                         7
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 1 for additional information and analysis, Defendants produced, without further discussion,
 2 the following chart breaking down these 338 referrals outside of UNA:
 3
                               Higher Level of Care Referrals Not
 4                             Counted in Official UNA Referral Count            Count

 5                             Patients not screened or reviewed based on
                               2022/2023 UNA methodology, but referred            92
 6                             during Phase II + 7 days

 7                             Patient screened with 0 flags during Phase I,      90
                               but referred during Phase II + 7 days
 8
                               Patients not recommended for referral during       94
 9                             Phase II, but referred during Phase II + 7 days

10                             Patients identified as PD Category 1-3, but        55
                               referred during Phase II + 7 days
11
                               Patients not referred since their IDTT did not
12                             agree with the referral at CRD, but referred        7
                               during Phase II + 7 days
13
                               TOTAL                                              338
14
15 See ECF No. 786-2 at 6.
16                  These 338 referrals outside of UNA are a serious problem for several reasons. First,
17 the large number of referrals during the study period, but outside of the study process,
18 shows that the UNA study basically missed as many cases of inpatient need as it caught.
19 More than a quarter of those—the 92 in the first category—never even made it in to the
20 study itself, strongly suggesting the gatekeeping criteria for the study were too stringent or
21 improperly applied. Further, the fact that there were 90 referrals to inpatient programs in
22 this short period of time of patients who failed to screen positive for further review in
23 Phase I of the study, which was designed to be an extremely broad screening tool, suggests
24 both a gap in the study design and a poorly executed screening in Phase I, likely
25 exacerbated by the staffing issues identified above. See ECF No. 7865-2 at 6. There
26 were also 94 individuals screened into Phase II (meaning they were flagged in Phase I) but
27 not recommended for referral by the UNA reviewers during Phase II. Id. These cases
28 suggests that the UNA study reviews themselves may not have been well executed, or that
     [4330192.10]                                         8
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 1 they were undermined by low staffing levels, or that some other problem was in play.
 2 Similarly, the 55 referrals of personality disordered patients identified in Phase I but
 3 referred to higher levels of care during Phase II outside of UNA suggests these cases
 4 identified as having personality disorders were not properly or fully evaluated for possible
 5 need for inpatient treatment by the UNA teams. See id. The large number of non-UNA
 6 referrals has not been adequately explained by Defendants, and calls into serious question
 7 the results.
 8                  Second, the large number of referrals outside of UNA indicates that clinical staff
 9 very likely defensively made referrals outside of the UNA process so that they did not look
10 like poor clinicians for failing to identify and refer such cases themselves. Defendants
11 obliquely acknowledge that this was a significant problem identified during the 2005 UNA
12 study. See ECF No. 7865-3 at 14 (noting 2005 UNA report found “[s]ome staff showed
13 signs of institutionalization, with higher tolerance for pathology and decompensation”).
14                  While Plaintiffs identified this issue and asked that Defendants analyze it further,
15 Defendants did not do so. Nonetheless, the data from the 2022/2023 UNA study appears
16 to demonstrate the same flaw identified by the 2005 study. Based on the essentially equal
17 number of contemporaneous non-UNA referrals in the same short timeframe, it seems
18 likely that institution staff made inpatient referrals outside of the UNA process so they
19 were not seen as having failed to refer appropriate patients on their caseloads. 6 The most
20 tangible evidence of this effect is the fact that seven patients’ IDTTs fought to block the
21 Phase II reviewers’ referral recommendation, prevailed through the dispute resolution
22 process, and then within days referred the patient to inpatient programs anyways. See ECF
23 7865-2 at 6.
24                  Additional evidence that institutionalization may have depressed UNA referrals is
25 demonstrated by the extremely high percentage (44%) of cases where institution IDTTs
26
27   This is a well-known problem in research, often referred to as the Hawthorne Effect or
     6
   the Observer Effect, which takes place when people change their behavior when they know
28 they are being observed.
     [4330192.10]                                          9
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 1 disputed the Phase II team’s referral recommendation, of which 72% were ultimately not
 2 referred. See ECF No. 7865-3 at 38. (Notably, the Special Master’s data on this issue
 3 departed, once again, from Defendants’ reported count. See ECF No. 7865-2 at 33.)
 4 Approximately one in ten of those patients was then referred for inpatient care by their
 5 IDTTs within three months, despite the IDTT’s resistance to the UNA referral recommen-
 6 dation. ECF No .7865-3 at 38. While Plaintiffs and the Special Master both asked for
 7 additional analysis on this point, including whether it demonstrated institutionalization that
 8 should be accounted for in assessing unmet need and/or how it compared to rescission and
 9 rejection rates in prior years, Defendants declined to provide it beyond reporting later-
10 generated referrals. Compare ECF No. 7865-2 at 33 (Special Master comments), and id. at
11 53 (Plaintiffs’ comments), with ECF No. 7865-2 at 7.
12                  Indeed, in their response to the comments on the draft report, Defendants discussed
13 the observer effect in connection with this very group of referrals. See ECF No. 7865-2 at
14 5 (noting Defendants initially counted 604 referrals, based on a count of all referrals
15 including non-UNA team referrals during Phase II in order “to eliminate factors such as
16 the observer effect, concurrent Sustainable Process activities during the UNA period, and
17 any unanticipated Phase II referrals that did not strictly align with the 2022/23 UNA
18 methodology.”). Rather than carefully analyzing how these highly suspect numbers of
19 concurrent non-UNA referrals could possibly be reconciled with their conclusion that the
20 UNA process was robust, or including them as additional UNA referrals suppressed by the
21 observer effect, Defendants blithely attribute the results to the success of the Sustainable
22 Process. This claim is unsubstantiated, at a minimum because Defendants halted their
23 sustainable process activities during the UNA study. See ECF No. 7865-3 at 22; see also
24 infra Section IV (objecting to proposed findings regarding the efficacy of Defendants’
25 Sustainable Process). The large number of referrals outside of UNA call into serious
26 question the results of the UNA.
27
28
     [4330192.10]                                        10
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 1                  C.     The Substantial and Ongoing Drop In Inpatient Referrals Since the
                           Pandemic is Unexplained and Undermines the Reliability of the UNA
 2                         Study Results.
 3                  A third troubling factor that limits the usefulness of the UNA report’s finding is the
 4 large and sustained drop in inpatient referrals since the beginning of the pandemic, which
 5 Defendants acknowledge but fail to explain. Even with most of the UNA reviews
 6 occurring in 2022, the rate of referrals per MHSDS patient in 2022 fell below the 2000 and
 7 2021 referral rates, and the rate for all three years was far below the rate in 2019. This is
 8 shown in Defendants’ chart on page 45 of the Final UNA Report, which shows that the
 9 annual rate of referrals has declined significantly, both in absolute numbers and in the rate
10 per 1,000 patients in the MHSDS during those years. ECF No. 7865-3 at 45. The key
11 information in the chart is reproduced below for clarity:
12                                             Total Number Referrals
13                                              of Referrals Per 1000
                                          Year to APP/ICF    Patients
14
                                          2016        2756            74.6
15
                                          2017        3600            93.7
16
                                          2018        4352           112.5
17
                                          2019        4803           129.9
18
                                          2020        2817            78.3
19
                                          2021        2307            78.0
20
                                          2022        2290            70.3
21
22                  This chart shows steadily increasing referrals to ICF and UNA from 2016 through
23 the start of the pandemic in early 2020, suggesting that efforts to ensure inpatient beds
24 were appropriately being used were working during that time period. However, since the
25 pandemic year of 2020, rates of referral to inpatient care have crashed to almost one-half
26 the 2019 rate of referrals of 129.9 per 1,000 patients. See ECF No. 7865-3 at 45.
27 Defendants argue in the Report that “[i]f there was an unmet need, then the referral rate
28 during the 2022/2023 UNA could be expected to be significantly, or at least noticeably
     [4330192.10]                                         11
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 1 higher.” Ibid. The problem is that Defendants do not have an explanation as to why the
 2 2022 rate remains so much lower than the 2019 rate. The 2022 rate is even lower than the
 3 pandemic years—or indeed any reported rate for the seven years for which data is
 4 provided—and appears to be falling further. This large drop in referrals is unexpected and
 5 anomalous. One would have expected that after a year of intense isolation due to the
 6 pandemic, MHSDS patients would have an increased need for inpatient care, 7 but in fact,
 7 the referrals to inpatient programs have nearly halved during the pandemic and this
 8 reduction in referrals has continued for two years after the worst of the pandemic
 9 lockdowns ended. 8
10                  The explanation could well be that poor staffing in CDCR institutions is impacting
11 identification and referral, or it could be that staffing shortages in the PIP programs have
12 impacted quality of care to such a degree that EOP clinicians are not bothering to send
13 their patients there, or there could be another explanation. It could be that there are
14 temporary factors impacting referrals that also impacted the UNA reviews. Whatever the
15 explanation, and defendants provide none that pass muster, this unexamined, extremely
16 anomalous trend undermines the reliability of the UNA results.
17                  The Court should acknowledge that these three factors call into question the
18 reliability of the UNA study’s conclusions. To the extent that the Court accepts the study’s
19 finding that there is no unmet need, it should do so with the caveat that these three factors
20 cast doubt on the reliability of the findings and the durability of its conclusions regarding
21
     It is well established that the kinds of isolation and lack of stimulation experienced in the
     7
22 pandemic, which are similar to the kinds of isolation in segregation units, typically leads to
   psychological decompensation, and psychological crises. See, Reiter Keramet, et al.,
23 Psychological Distress in Solitary Confinement: Symptoms, Severity, and Prevalence in
   the United States, 2017-2018. Am J Pub. Health. 2020, at 1 (“Many studies document
24 psychological harms of segregation, including associations between solitary confinement
   and self-harm, anxiety, depression, paranoia, and aggression, among other symptoms.”).
25 8
     The Report does discuss the pandemic (ECF 7865-3 at 21) in the context of Defendants’
26 “Lessons   Learned” report (filed with the Court at ECF No. 7196). The findings of that
   Lessons Learned report are presented as fact in the Final UNA Report, despite the fact that
27 Plaintiffs strongly contest many aspects of Defendants’ methodologies and findings (ECF
   No. 7241) and the Court never adopted it. Even if these explanation validly described the
28 pandemic patterns, they fail to explain the persistent low rates of referral in 2021 and 2022.
     [4330192.10]                                        12
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 1 ongoing need.
 2 II.              THE FINDINGS IN THE REPORT REGARDING LACK OF UNMET NEED
                    FOR LOW-CUSTODY DSH BEDS AND HIGH-CUSTODY PIP BEDS
 3                  IGNORE CONFOUNDING FACTORS
 4                  Additionally, Defendants’ conclusions regarding utilization of the low-custody
 5 DSH beds and the high-custody PIP beds are undermined by major confounding factors
 6 that CDCR fails to address.
 7                  A.    Defendants Ignore the Role of the Broken LRH Process in Assessing the
                          Need for Low-Custody DSH Beds
 8
 9                  Plaintiffs object to the Report’s conclusions regarding lower custody inpatient beds
10 operated by the Department of State Hospitals (DSH) at Atascadero State Hospital and
11 other State Hospitals. See ECF No. 7865-3 at 12-13. Defendants’ Report asserts that in
12 the context of ongoing low utilization rates of low custody inpatient beds, the low referrals
13 to DSH beds during the UNA review period show that there is at best “a weak correlation
14 between [higher numbers of] available DSH beds and unmet need.” Id. Plaintiffs disagree
15 with and object to this conclusion, and ask that the Court specifically reject this finding in
16 the Report as well as the other findings regarding DSH/ASH beds.
17                  There is no question that DSH beds are not being fully utilized at this time and have
18 not been fully utilized for years. Defendants’ most recent monthly filing with inpatient
19 bed census data, dated July 14, 2023, shows that at the end of June 2023, only 59 out of
20 259 contracted ICF beds at Atascadero State Hospital (“ASH”) were filled, a shocking low
21 occupancy rate of only 23 percent. See ECF No. 7874 at 19. Similarly, the same report
22 shows that for low-custody ICF beds for men, only 126 out of 370 such beds overall are
23 occupied, a rate of only 34 percent. Id.
24                  Similarly, in the Final UNA Report, Defendants’ include the following chart
25 showing low custody DSH ICF occupancy rates over the last decade. ECF No. 7865-3 at
26 58. The chart shows the dramatic decline in utilization of DSH beds in the last two years
27 and provides some context regarding utilization rates over the last decade or so:
28
     [4330192.10]                                        13
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12                  As the chart shows, since 2012, DSH inpatient bed utilization has varied. At times,

13 particularly when there is pressure from the Court and the Special Master to fill the
14 chronically underutilized DSH beds at ASH and other DSH facilities, the usage increased
15 to 80 percent and even 100 percent of occupancy. For example, the relatively high rates of
16 DSH bed utilization in 2012, 2016 and 2017 reflected court intervention and/or Special
17 Master scrutiny of the low rate of lower custody beds around those times. See ECF No.
18 5448 at 33-40 (2016 Special Master’s Inpatient Report discussing successful court
19 interventions in 2011-12, and 2015-16 to increase utilization of DSH beds and particularly
20 ASH beds). Notably, at the end of 2019, just before the pandemic, occupancy for DSH
21 beds was also at close to 100 percent for around five months. ECF No. 7865-3 at 58.
22 However, for the roughly ten year period in the chart above as a whole, the average
23 utilization of DSH beds would appear to be only around 70-75 percent, if the last two years
24 are excluded. The chart also shows two brief periods, in 2015 and 2018-19, where the
25 occupancy rates slipped to just below 60 percent. However, since the end of the key
26 pandemic restrictions in early 2021, the rate of occupancy has dropped dramatically—and
27 in an unprecedented manner—to well below 40 percent and has remained there. Id.
28                  Defendants do not have a clear explanation for this drop, and as explained above
     [4330192.10]                                        14
            PLAINTIFFS’ OBJECTIONS TO DEFENDANTS’ 2022-2023 UNMET NEEDS ASSESSMENT REPORT
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 1 they assert that the low rate during the UNA reviews shows there is no unmet need for the
 2 DSH beds. But this conclusion completely ignores an obvious confounding factor that
 3 undermines the basis of their finding: the broken LRH process. Indeed, other data
 4 suggests a different explanation than that proffered by Defendants—that people who
 5 should be going to low-custody ICF beds in DSH facilities are being needlessly sent to and
 6 kept in higher-custody CDCR facilities that are badly understaffed and failing to provide
 7 minimally adequate care, including SVSP, CMF and CHCF. The Report includes the
 8 following chart showing occupancy rates for “multi-person cells,” about two-thirds of
 9 which are four-man dormitories in the PIP program at Salinas Valley State Prison and one-
10 third of which are a wing of double-cells in the CMF PIP. See id. at 65.
11
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22                  The graph shows that the demand for the “Multi Person Cells” skyrocketed to 120
23 percent of capacity during UNA—higher than any period since the start of Defendants’
24 reporting in January 2018. Defendants do not provide a thorough explanation for this
25 unprecedented surge in demand, but it strongly suggests that patients from the UNA
26 process who previously would have gone to lower-custody DSH and CDCR ICF programs
27 are instead being sent to (or needlessly kept in) the four-person dorms at SVSP and the
28 double-celled wing at CMF. Indeed, Defendants acknowledge in the Final UNA Report
     [4330192.10]                                       15
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 1 that this data shows a problem with LRH reviews, noting that “CDCR should commit to
 2 ensuring IDTTs are regularly reviewing patients not housed within their current LRH for
 3 potential step down, including patients in Multi-Person Cells that may be able to go to a
 4 Lock[ed] Dorm or Unlocked Dorm.” Id.
 5                  Recent data confirms significant problems with the LRH process and suggests it is
 6 completely broken. For example, Defendants’ most recent monthly report on inpatient
 7 referrals, dated July 14, 2023, shows that there were 97 patients who were not in their LRH
 8 at the Stockton high custody ICF, 13 patients not in their LRH in two program categories
 9 at CMF ICF, and 103 patients in two categories not in their LRH at the SVSP ICF. See
10 ECF No. 7874 at 18-19. Thus, a total of 213 patients in these high custody programs are
11 not in their LRH—almost half of all the 502 people in these high custody ICF programs.
12                  The large number of patients who are Level I and II but are housed in high custody
13 CDCR ICF programs also underscores the clear current problem with the LRH referral
14 system. The most recent monthly report filed by Defendants on inpatient referrals reports
15 the following census of level I and II patients in high custody ICF programs:
16                                                        Level I Level II Level I + II
17                      Program                           Patients Patients  Total

18                      CHCF High Custody ICF                 8         44          52

19                      CMF High Custody ICF                  2          6           8

20                      SVSP High Custody ICF (single         4         41          45
                        and multi-person)
21                      TOTAL Low Custody out of              14        91          105
22                      Level in High Custody ICF

23 See id. at 18-19. The fact that there are 105 level I and II patients in restrictive Level IV
24 inpatient programs is very troubling, and shows that the process for ensuring patients move
25 to the lowest custody inpatient treatment setting is failing, leaving lower custody ICF beds
26 at ASH, CSH and CMF severely underutilized.
27                  The Special Master also documented this LRH problem in his 2023 Psychiatric
28 Inpatient Program Report, where he wrote that “[e]vidence of inadequate identification of
     [4330192.10]                                        16
            PLAINTIFFS’ OBJECTIONS TO DEFENDANTS’ 2022-2023 UNMET NEEDS ASSESSMENT REPORT
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 1 patients housed outside of their LRH and inadequate treatment planning to address the
 2 symptoms and behaviors that prevented patients from moving to their LRH were found in
 3 a number of cases reviewed at CMF-PIP and SVSP-PIP[.]” ECF No. 7833 at 74; see also
 4 June 9, 2023 Order, ECF No. 7854 (adopting Special Master’s PIP Report). The Special
 5 Master also reported that none of the IDTTs that he observed during his thirtieth round
 6 tour at CMF-PIP took steps to facilitate patients out of their LRH to move to less
 7 restrictive housing, and that CMF-PIP suspended LRH reviews due to high staffing
 8 vacancies. ECF No. 7833 at 93, 104. At SVSP, the Special Master reported “challenges
 9 from the Health Care Placement Oversight Program (HCPOP) […] when patients were
10 released from maximum custody and reduction to a lower LRH was recommended.” Id. at
11 94. The Special Master found that “CHCF-PIP, SVSP-PIP and CIW-PIP all reported
12 increases” in patients housed above their LRH during the review period . Id. at 46. The
13 PIP Report also found that treatment planning efforts in IDTTs, which presumably
14 included the LRH process, were “compromised by issues with attendance for required
15 members, poor care collaboration, and deficiencies in IDTT practices.” Id. at 56.
16                  Given these problems, the Court should reject the Report’s conclusions about unmet
17 need and the DSH vacancy rate. The LRH process controls access to DSH beds. That
18 process is broken in all meaningful ways. Until it is fixed or replaced, it impossible to
19 discern whether there is a correlation between unmet need and the utilization rate of the
20 DSH beds.
21                  B.    Defendants’ Claim of Sufficient High-Custody and Acute PIP Beds Is
                          Predicated On A Fiction
22
23                  Additionally, Defendants’ reporting on the occupancy levels of their APP and high-
24 custody ICF PIP units appears to show consistent capacity in those units since 2020. ECF
25 No 7865-3 at 59-60, 63-64. But Defendants’ reporting is based on a fiction, as it fails to
26 account for the fact that roughly 200 high-custody and acute beds at CMF PIP and CHCF
27 PIPs have been offline for years due to Defendants’ chronic inability to hire and retain
28 sufficient clinical staff to run those units. See, e.g., ECF No. 7836 at 10-11 (reporting 203
     [4330192.10]                                       17
            PLAINTIFFS’ OBJECTIONS TO DEFENDANTS’ 2022-2023 UNMET NEEDS ASSESSMENT REPORT
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 1 offline beds at CMF and CHCF PIPs). Without those beds, Defendants very clearly lack
 2 sufficient capacity to provide class members timely access to inpatient psychiatric
 3 hospitalization, as reflected in Defendants’ sustained inability to comply with Program
 4 Guide transfer timelines. See Feb. 28, 2023 Order, ECF No. 7741. By counting inpatient
 5 beds that physically exist, but have not been available to treat patients for years,
 6 Defendants present a false picture of capacity where in reality none—indeed, less than
 7 none—exists.
 8 III.             THIS COURT SHOULD ADOPT THE FINDINGS SHOWING A CLEAR
                    NEED FOR A TREATMENT PROGRAM FOR CLASS MEMBERS WITH
 9                  PERSONALITY DISORDERS AND ORDER THE SPECIAL MASTER TO
                    MAKE RECOMMENDATIONS REGARDING APPROPRIATE NEXT
10                  STEPS
11                  Defendants claim that further analysis is required to determine both whether there is
12 an unmet need for patients with personality disorders and to decide what treatment is
13 appropriate. ECF No. 7865-3 at 8, 48. The assertion that there is no clear unmet need is
14 irreconcilable with the study’s results: CDCR’s own clinicians conclusively identified 470
15 patients who struggle with severe personality disorders that have not responded adequately
16 to offered treatment, who have already been offered all clinically appropriate treatment
17 available in the MHSDS, and who “may benefit from a special treatment needs program
18 for patients with a personality disorder that is not available within the existing MHSDS or
19 DSH.” Id. at 95 (UNA Operationalization for Phase II explanation of criteria for
20 Personality Disorder Category 3); id. at 39 (identification of 470 Category 3 patients).
21 There is simply no basis for Defendants’ claim that there is a question as to whether any
22 unmet for this group of patients exists: They were identified by Defendants using
23 methodology they designed themselves for the express purpose of determining whether
24 this category of unmet need exists. See ECF No. 7305 at 15:9-10 (ordering that study with
25 respect to personality disorder needs must be “sufficient to identify with specificity the
26 size of that need and what is required to ensure that it is met”). The conclusive answer
27 from Defendants’ study is that it does, and the unmet need is large.
28                  Defendants also assert that a year-long study is needed to determine whether and
     [4330192.10]                                        18
            PLAINTIFFS’ OBJECTIONS TO DEFENDANTS’ 2022-2023 UNMET NEEDS ASSESSMENT REPORT
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 1 how to treat this identified unmet need among class members. See ECF No. 7865-2 at 9,
 2 13; ECF No. 7865-3 at 50-51. Yet they do not contest that they already spent significant
 3 time in 2020 studying, with the input of the Special Master’s experts, how best to treat
 4 class members with personality disorders and identified appropriate treatment protocols
 5 “including Dialectical Behavioral Treatment (DBT) for some [those with BPD] and a
 6 Clozapine unit for others with chronic self-harm.” ECF No. 7865-2 at 13. Defendants do
 7 not explain why they failed to implement such programs after their review of these issues
 8 in 2020, much less why another year of study is necessary—particularly given the fact that
 9 their plan does not even account for the time after the year-long study period that
10 Defendants claim must be spent “finding, soliciting, and hiring subject matter experts to
11 staff these new programs, as well as attaining significant buy-in from institutional custody
12 staff.” Id. at 14.
13                  Moreover, Defendants cannot explain why any further study at all is needed to
14 create a program to treat the 152 identified patients who are diagnosed with BPD and/or
15 EUPD. 9 As Defendants themselves admit, psychotherapy is the well-accepted treatment
16 for these diagnoses. ECF No. 7865-3 at 49; see also Lois Choi-Kain, Ellen Finch, et al.,
17 What Works in the Treatment of Borderline Personality Disorder, Curr Behav Neurosci
18 Report 2017; 4(1): 21-30 (noting that BPD was “once thought to be an untreatable
19 condition” but that in recent years established evidenced-based treatment protocols have
20 been identified); see also Mayo Clinic, Information Page on Borderline Personality
21 Disorder, available at https://www.mayoclinic.org/diseases-conditions/borderline-
22
23
     9
       While Defendants identified 152 Category 3 Personality Disorder patients with diagnoses
     of BPD (or EUPD, as Defendants admit the two are essentially synonymous, see ECF
24   7865-3 at 49), there is good reason to believe this is a small fraction of the class members
     who could benefit from an evidence-based BPD-treatment program. See Irene Epshteyn,
25   Hossam Mahmoud, Enhancing Mental Health Treatment for Borderline Personality
     Disorder in Corrections, Journal of Correctional Health Care, 2021; 27(4): at 220 (finding
26   that “[a]mong the personality disorders, borderline personality disorder (BPD) is
     particularly prevalent in correctional settings” and noting that “[e]stimates [of prevalence
27   in correctional settings] range from 25 % to 50%, likely exceeding its prevalence in all
     other institutional settings, including inpatient psychiatric units (20%), outpatient
28   psychiatric settings, and the general population (1%-2%).” ).
     [4330192.10]                                       19
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 1 personality-disorder/diagnosis-treatment/drc-20370242 (affirming that psychotherapy
 2 along with good psychiatric management “have been found to be effective” for BPD).
 3                  Defendants assert that designing a program to treat all of the patients identified in
 4 Category 3 of UNA is complicated because the patients’ “diagnoses span a spectrum,” 10
 5 potentially necessitating different treatment. ECF No. 7865-3 at 50. While this may be
 6 true when considering the 470 patients identified in Category 3 as a whole, Defendants do
 7 not contest the Special Master’s point that treatment for patients with BPD can and should
 8 be developed on a pilot basis now “as there is no need for further study as to evidence-
 9 based treatment for patients with this diagnosis.” ECF No. 7865-2 at 34 (Special Master’s
10 comments). Defendants assert that the personality disordered patients can wait years
11 longer to receive well-established treatment because there is no “immediate risk of further
12 harm while these patients receive treatment for other aspects of their mental health.” Id. at
13 9. As a threshold matter, if these patients were functioning well or amenable to treatment
14 within the existing MHSDS programs, they would not meet the criteria for Category 3 in
15 the first place. See ECF No. 7865-3 at 95 (Personality Disorder Category 3 criteria) and 97
16 (reporting requirement for Category 3 patients that UNA reviewers provide “a detailed
17 summary and rationale for the determination … to HQ within 10 working days to include
18 specific patient needs to be addressed by interventions (for example, a comprehensive
19 DBT residential program).”). Moreover, the reality is that these patients pose a serious
20 risk to themselves and to others on a daily basis, as the Special Master notes. See ECF No.
21
22
     10
        Defendants’ decision to modify earlier drafts of the report to further stratify the
     personality disorder diagnoses for the Category 3 patients by including the ICD-10
23   classification system appears designed to advance their argument that the group of patients
     at issue are heterogenous, as illustrated in their semi-legible chart at page 49 of the Report.
24   Not only do Defendants admit that the two most common ICD-10 diagnoses identified
     (Dissocial Personality Disorder and Emotionally Unstable Personality Disorder) are
25   essentially the same as the two most common DSM diagnoses identified (Antisocial
     Personality Disorder and Borderline Personality Disorder, respectively), see 7865-3 at 49,
26   the Special Master has never seen CDCR clinicians actually use the ICD-10 classification
     system in his many years of monitoring, see ECF No. 7865-2 at 34. Nor do Defendants
27   claim those codes are actually in use within CDCR. See id. at 9 (asserting merely that
     CDCR clinicians “have access to one or more … diagnostic references” including ICD-10
28   and “may” use it).
     [4330192.10]                                          20
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 1 7865-2 at 34 (noting that denying known treatment to this group “risks further harm to
 2 these patients, as well as staff and other patients.”); see also Kelly E. Moore, et. al, The
 3 Relation of Borderline Personality Disorder to Aggression, Victimization and Institutional
 4 Misconduct Among Prisoners, Comprehensive Psychiatry, 84 (July 2018): 15-21, available
 5 at https://www.sciencedirect.com/science/article/abs/pii/S0010440X18300579 (finding
 6 prisoners with BPD were more likely than those without BPD to perpetrate and be
 7 victimized by psychological aggression).
 8                  Patients diagnosed with BPD often are seriously self-harming, consume extensive
 9 resources, and frequently incur disciplinary infractions that extend their time in prison.
10 Continuing to deny them well-known, evidence-based treatment that can alleviate their
11 symptoms is deliberate indifference. As the Special Master noted, this patient population
12 places tremendous pressure on Defendants’ “already limited staffing and resources.” ECF
13 No. 7865-2 at 34; see also Irene Epshteyn, Hossam Mahmoud, Enhancing Mental Health
14 Treatment for Borderline Personality Disorder in Corrections, Journal of Correctional
15 Health Care, 2021; 27(4): at 220-224 (noting that treatment for correctional patients with
16 BPD is particularly cost effective because “such patients often present in a state of crisis
17 and seek help repeatedly and simultaneously from multiple sources”). CDCR has more
18 than enough information to design and begin implementing a treatment program for this
19 significant identified population of patients, who are suffering because Defendants have
20 spent years delaying implementing well-accepted, known treatment protocols.
21                  Accordingly, this Court should reject Defendants’ conclusion that the UNA did not
22 clearly answer whether an unmet need exists for patients with personality disorders, and
23 order the Special Master to opine and make appropriate formal recommendations
24 regarding their claim that an additional year of evaluation is necessary both to ascertain
25 whether unmet need in this area exists and to determine whether and how patients with
26 personality disorders, particularly those with borderline personality disorder diagnoses, can
27 be treated.
28                  If this Court declines to request formal input and potential recommendations from
     [4330192.10]                                        21
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 1 the Special Master in lieu of Defendants’ proposal to further evaluate treatment for patients
 2 with personality disorders, it must, at a minimum, direct the Special Master to oversee the
 3 development and implementation of Defendants’ proposed study, with input as appropriate
 4 from Plaintiffs’ counsel. Particularly given Defendants’ repeated claims that this
 5 population is heterogenous and difficult to treat, coupled with their claims that the agreed-
 6 upon UNA methodology was flawed and requires a “standardized methodology” (ECF No.
 7 7865-3 at 48), Defendants would presumably welcome the Special Master’s assistance and
 8 expertise in what is essentially a refinement and extension of the UNA study.
 9 IV.              DEFENDANTS’ EFFORTS TO REHABILITATE THEIR SUSTAINABLE
                    PROCESS THROUGH THE UNA REPORT SHOULD BE REJECTED
10
11                  The Court should reject Defendants’ attempts to use the UNA process to rehabilitate
12 their Sustainable Process. These comparisons are beyond the scope of the Court’s order
13 dictating the requirements of the UNA study, and were therefore not considered or
14 addressed in the design of the study’s methodology or its execution. In fact, the Court
15 specifically sought to separate consideration of unmet need and evaluation of Defendants’
16 sustainable process. See Sept. 10,2021 Order, ECF No. 7305 at 14-15. Moreover,
17 Defendants’ attempts to assert that the sustainable process better identifies unmet need are
18 questionable at best. First, Defendants do not include in their comparisons the 338
19 purportedly “non-UNA” referrals generated contemporaneously with the UNA, even
20 though it is not clear these referrals would have occurred had the UNA process not been
21 taking place. See supra Section I.B. Second, Defendants do not acknowledge the role of
22 the current staffing crisis, which undermined the UNA process and its results and likely
23 plays a role in the ongoing depressed referral rate. The extreme nature of the systemwide
24 clinical staffing vacancy rate among primary care clinicians (as opposed to psychiatrists) is
25 a relatively recent development, and confounds comparisons to pandemic and pre-
26 pandemic years.
27                  Further, Defendants’ comparisons are methodologically flawed because they do not
28 use the appropriate time periods for purposes of comparison overall. Some of the charts in
     [4330192.10]                                       22
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 1 the Final Report compare sustainable process time periods that are much longer than the
 2 time periods used in UNA. See, e.g., ECF No. 7865-3 at 43. As the chart on page 43
 3 shows, for EOP patients, the time period involving the sustainable process is a three month
 4 period (presumably due to the fact that IDTTs are required to be held once a quarter for
 5 EOP patients), and for CCCMS patients the time period is the entire year (similarly,
 6 presumably due to the fact that IDTTs are required to be held once a year for CCCMS
 7 patients). Id. But the time frame for a number of UNA institution reviews was less than a
 8 month, and the UNA review periods for most individual institutions were one to two
 9 months. Id. Referral rates over a longer Sustainable Process period are certain to be
10 higher than over the much shorter UNA periods, so these comparisons are
11 methodologically flawed.
12                  The Court should disregard Defendants’ ad hoc comparisons of the UNA results to
13 the sustainable process. The Court’s order mandating the study contains no requirements
14 for such a comparison, and as such the UNA study was never designed nor implemented to
15 address it. And Defendants’ reported comparisons attempting to rehabilitate the
16 sustainable process are methodologically suspect. To the extent the Court at some point in
17 the future considers a further unmet needs evaluation, Defendants’ claims about the
18 effectiveness of the sustainable process will be relevant and squarely at issue. But they are
19 not part of this Court-ordered UNA study, and the portions of Defendants’ Report asserting
20 the purported efficacy of that process should be rejected and disregarded.
21                                                CONCLUSION
22                  Based on the foregoing, Plaintiffs request that the Court reject, or at a minimum
23 acknowledge the limitations of, the UNA study’s findings of no unmet need for ICF and
24 acute inpatient care, given the unanswered questions about the methodology and data
25 results, the large number of referrals outside of the study, the likely impact of the current
26 staffing crisis on inpatient referrals and on the UNA study itself, and the unexplained
27 persistence of seriously depressed referral rates post-pandemic. At the very least, the
28 Court should find that these limitations cabin the predictive power of the study with
     [4330192.10]                                         23
            PLAINTIFFS’ OBJECTIONS TO DEFENDANTS’ 2022-2023 UNMET NEEDS ASSESSMENT REPORT
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 1 respect to future inpatient bed need.
 2                  Further, the Court should reject the Final UNA Report’s sweeping conclusion that
 3 there is a lack unmet need for low custody DSH beds given Defendants’ persistent inability
 4 to design and implement a functioning process for ensuring patients are treated in their
 5 least restrictive inpatient housing setting. Similarly, Defendants’ finding of excess acute
 6 and high-custody ICF capacity is predicated on the fiction that all existing PIP beds are
 7 available to treat patients. This has not been true for years, as hundreds of CDCR inpatient
 8 beds remain offline due to CDCR’s unabating staffing crisis. CDCR does not actually
 9 operate sufficient numbers of high-custody acute and ICF beds to timely treat the
10 identified inpatient need. Their assertion of sufficient capacity must be rejected.
11                  Moreover, this Court must conclude, based on the objective outcome of the study,
12 that an unmet need for patients with personality disorders exists, despite Defendants’
13 protestations. And it should order the Special Master to opine and make recommendations
14 regarding Defendants’ claim that this patient population will suffer no harm while awaiting
15 at least another additional year of study and evaluation before Defendants will agree to
16 consider treating them. At least for the large subset of the group diagnosed with borderline
17 personality disorder, treatment protocols are indisputably well-defined and beneficial.
18                  Finally, this Court should ignore Defendants’ attempt to use the UNA to establish
19 the effectiveness of the Sustainable Process. Such a comparison is beyond the scope of the
20 study and as such was not accounted for in its development or planning; regardless,
21 Defendants’ post-hoc analysis is methodologically flawed.
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     [4330192.10]                                        24
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1                                               CERTIFICATION
2                   The undersigned counsel for Plaintiffs certifies that he reviewed the following
3 relevant court orders: ECF Nos. 7305, 7477, 7676, 7680, 7854.
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5 DATED: August 1, 2023                             Respectfully submitted,
6                                                   ROSEN BIEN GALVAN & GRUNFELD LLP
7
                                                    By: /s/ Thomas Nolan
8                                                       Thomas Nolan
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                                                    Attorneys for Plaintiffs
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